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               ., ; · ,t .;- ,·n (i I k ,                                             )
                  vs.  I<r.. . (\ .s t.\5 (J.i".l ; v e.r..s dy t11 a.r..1. I ~,c-\ ·~      Case 'Nl!rnber 6:17-cv-01152-EFM-KGG

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                  City                             State                      ZipCode )

                  (Enter above the full name ancl address of the
                  Defend.ant in this action ,. list the name ancl
                  add.ress of any aclditiooal.defendants on the l;Jac){
                  ~icle of thjs $h~et).
                                                                             CIVIL COMPLAINT
                  I.         Parties tcHhis·civil action:

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       (In item B below, write the full name of the defendant in the first blank. In the second
       blank, write the official position of the defendant. Use item C for the names and positions
       of any additional defendants).

       B.                                                                                                                                                                            is



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       c.      Add it io nal Defendants_-,JQ=-:-r-'-·,-~""''"'-'r'-·_t""--"'-v=a...'--_._A-'-'-\_,,,b01-t_;__=~-.,;-·.:_h_r't,_."__;___(:_..·_,,._~_,•'_:_''--"!'--'--'_\_

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 II.   Jurisdiction:

       (Complete one or more of the following subparagraphs, A., B.1, B.2., or B.3., whichever is
       applicable.)

       A. (If Applicable) Diversity ofcitizenship and amount:
               1.            Plaintiff is a citizen of the State of                                                             C:tJ \Ot A. &.o
               2.            The first-named defendant above is either
                                            a. a citizen of the State of                                                          \<CJ·.•\; ,7.J,'                       ; or
                                            b. a corporation incorporated under the laws of the State of
                                                               'j( {),. rl ,f a..5                                         and having its principal place of business
                                                     in a State other than the State of which plaintiff is a citizen.


               3. The second-named defendant above is either
                                            a.                   a citizen of the State of                                            \< (;. .."J ~ Q..,J                     ; or
                                            b.. ,..              a corporation incorporated under the laws of the State of
                                              \( /J..,F(,:.          r}.., S                      and having its principal place of business in a
                                            State other than the State of which plaintiff is a citizen.

               (lfthere are more than two defendants, set forth the foregoing information for each
               additional defendant on a separate page and attach it to this complaint.)
               Plaintiff states that the matter in controversy exceeds, exclusive of interest and
               costs, the sum of seventy-five thousand dollars ($75,000.00).


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              B.     (If applicable) Jurisdiction founded on grounds other than diversity
              (Check any of the following which apply to this case).


                D       1.    This case arises under the following section of the Constitution of
                              the United States or statute of the United States (28 U S.C. §1331):
                              Constitution, Article_ _, Section_ _ ;
                              Statute, US Code, Title_ _, Section_ _ .

              El2.            This case arises because of violation of the civil or equal rights,
                              privileges, or immunities accorded to citizens of, or persons within
                              the jurisdiction of, the United States (:28 U.S.C. §1343).

              il3.            Other grounds (specify and state any statute which gives rise to such
                              grounds):




       III.   Statement of Claim:

       (State here a short and plain statement of the claim showing that plaintiff is entitled to
       relief. State what each defendant did that violated the right(s) of the plaintiff, including
       dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
       If you intend to allege more than one claim, number and set forth each claim in a separate
       paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
       of the claim[s].)


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       IV.    Relief:                                                                                  '
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       (State briefly exactly what judgement or relief you want from the Couit. Do not make
       legal arguments.)


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            V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the
            present time? Yes~ NoD

           VI.               Do you. claim actual damages for the acts alleged in your complaint?
                             Yes~,        NoD

           VII.              Do you claim punitive monetary damages? Yes,~·                                                                                 No D
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           If you answered yes, state the amounts claimed and the reasons you claim you are entitled
           to recover money damages .



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        VIII.   Administrative Procedures:

                A.     Have the claims which you make in this civil action been presented through
                any type of Administrative Procedure within any government agency?
                Yes      r:2II'·
                          No D

                B.     If you answered yes, give the date your claims were presented,
                how they were presented, and the result of that procedure:
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                C.     If you answered no, give the reasons, if any, why the claims made in this
                action have not bee·n presented through Administrative Procedures:




  IX.   Related Litigation:

        Please mark the statement that pe1tains to this case:

         D                     This cause, or a substantially equivalent complaint, was previously filed in
                               this court as case number                    and assigned to the Honorable
                               Judge~------------

                               Neither this cause, nor a substantially equivalent complaint, previously has
                               been filed in this court, and therefore this case may be opened as an original
                               proceeding.
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                                                                             Signature of Plaintiff                                                            r
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                                                 Telephone Number


                         DESIGNATION OF PLACE OF TRIAL

 Plaintiff designates lJS<l!Wichita, OKansas City , or 0Topeka} , Kansas as the
                                        (Select One)
 location for the trial in this matter.


                                                 Signature of Plaintiff


                            REQUEST FOR TRIAL BY JURY

 Plaintiff requests trial by jury { DYes or fl?!No }
                                     (Select 6ne) ·




 Dated: &t!tq /1?
  (Rev. 10/15)




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